Appendix’G<"s ECF No. 37-7, PagelD.1557 Filed 10/07/24 Page 1 of 16

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Katrina Bergunder
24674 Republic Ave
Oak Park, MI 48237

May 17, 2023

Experian
PO Box 9701
Allen, TX 75013

Subject: Dispute Rejection - Request for Reconsideration

Dear Experian,

1 am writing in response to your recent communication regarding the rejection of my dispute
regarding the status of JPMCB CARD/ Report #0673-0083-19 on my credit report. I had
previously disputed the entry, requesting that it be updated to reflect the accurate status of
"dismissed with prejudice" as confirmed by the court.

I would like to reiterate that the debt in question has been legally dismissed with prejudice by the
45th District Court (13600 Oak Park Blvd, Oak Park, MI 48237), and I have enclosed a copy of
the court's dismissal order and record of court as supporting documentation. The inaccurate
reporting of this debt as "charged off" misrepresents the true status and negatively impacts my
credit history.

I kindly request that you reconsider my dispute and make the necessary updates to accurately
reflect the dismissal with prejudice on my credit report. I believe that the continued reporting of
an inaccurate status is misleading and does not align with the Fair Credit Reporting Act's
requirements.

I also request a description of how the reinvestigation was conducted along with the business
name, address, documentation, and telephone number of the furnisher of information.

Please provide written confirmation once the necessary corrections have been made to my credit
report. I trust that you will handle this matter promptly and in accordance with the applicable
regulations.

Thank you for your attention to this matter.

Si ly,

Katrina Bérgunder

4 Page 2 of 16

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Approved, SCAO

Original - Court file

4st copy - Assignment Clerk/Extra 3rd copy - Opposing party

P-82443
P.O. Box 109032, Chicago, IL 60610
(866)757-4738

2nd copy- Friend of the Court/Extra 4th copy - Moving party
STATE OF MICHIGAN CASE NO.
< JUDICIAL CIRCUIT
asth JUDICIAL DISTRICT ORDER 22-00061GC
COUNTY
Court address Court telephone no.
13600 Oak Park Blvd, Oak Park, MI 48237 (248)69 1-7440
Plaintiff name(s), ee - telephone no(s). Defendant (s) (es), and teleph no(s).
JP Morgan Chase Bank, N. Katrina I Bergunder
24674 Republic Ave.
Vv Oak Park, MI 48237
(773)853-7085
Plaintiff's y, bar no., add and telephone no. (Defendant's y, bar no., addi and telephone no.
Mandarich Law Group, LLP
James McArdle

J. - -
1. Motion title: Motion-to-excludeawitness-and dismiss ism 1SS win car fads CQ

rty: Katrina Bergunder, defendant

2. Moving pal

3. This motion was heard by the Honorable

la. For the reasons stated on the record,
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THE COURT ORDERS that the above-named motion is

Hire court further orders
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Judge Michelle Friedman Appel on 02/21/2023
Date
(] granted.
granted in part, denied in part.
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Date

Judge

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4 Page 3 of 16

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13600 Oak Park Blvd
Oak Park, Ml 48237

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}|STATE OF MICHIGAN \

CASE NO:

!|4STH JUDICIAL DISTRICT] REGISTER OF ACTIONS

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22-00061GC GC

Court Address 13600 OAK PARK BLVD

Court Telephone

!
| OAK PARK MI 48237 (248) 691-7440
|
i JUDGE OF RECORD: APPEL,MICHELLE FRIEDMAN, P-32709
{
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|
' Attorney
P01 PLAINTIFF (CLSD) P-81102
: JP MORGAN CHASE BANK NA// MAMUT, MICHAEL THOMAS,
| 28366 FRANKLIN RD
{ SOUTHFIELD MI 48034
i (248) 352-4340
|
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| pol DEFENDANT (CLsD)
{ BERGUNDER/KATRINA/I
| 24674 REPUBLIC AVE
| OAK PARK MI 48237
'
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j (RETD  ) $9,772.36
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| FILING FEE PAID $75.00 RCPT # D337821 ™S
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! (7)
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P01 ORDER FOR SUBSTITUTED SERVICE FILED NMC
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CHECK TENDERED 50285 ™s
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Dol ORDER FOR SUBSTITUTED SERVICE ENTERED PUT
pol SUMM & COMP TO USF OWN PROCESS SRVER ISSUED PUT
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; Or PROOF OF SERVICE FILED PIT
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107/24 Page 4 of 16

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i RETD DEFAULT JDGMT--ANSWER FILED, PT SCHEDULED pat |
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VIA 200M POT |
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P01

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**FILE WITH JUDGR MFA**
FILE RETD BY JUDGE MFA

NOTICE TO DISMISS FILED

NTC OF DISMISSAL FILED BY PLTF IS NOT
SUFFICIENT AS THE DEFT FILED AN ANSWER - A
STIP & ORDER TO DISMISS MUST BE FILED TO
DISMISS THIS CASE

T/C TO PLTF ATTY'S OFFICE - WAS TRANSFERRED
TWICE AND DID NOT GET ANYONE ON THE PHONE THAT
COULD TAKE CARE OF THIS MATTER - SPOKE TO
TWO DIFFERENT RECEPTIONISTS THEREFORE I SENT
AN EMAIL TO THE PERSON WHO SUBMITTED THE
DISMISSAL BY EMAIL

BENCH TRIAL HELD

ORDER TO DISMISS ENTERED

DISMISSAL WITH PREJUDICE ENTERED

PARTIES PRESENT (LIVE IN PERSON); DEF'S MTN
TO DISMISS GRANTED; CASE DISMISSED WITH
PREJUDICE

***** END OF REGISTER OF ACTIONS ***** 05/17/23 10:03

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4 Page 6 of 16

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Katrina Bergunder
24674 Republic Ave
Oak Park, MI 48237

June 5, 2023

Equifax Disclosure Department
P.O. Box 740241
Atlanta, GA 30374

Subject: Dispute Rejection - Request for Reconsideration

Dear Equifax,

I am writing in response to your recent communication regarding the rejection of my dispute
regarding the status of JPMCB CARD/ Confirmation # 3124626699 on my credit report. I had
previously disputed the entry, requesting that it be updated to reflect the accurate status of
"dismissed with prejudice" as confirmed by the court.

I would like to reiterate that the debt in question has been legally dismissed with prejudice by the
45th District Court (13600 Oak Park Blvd, Oak Park, MI 48237), and I have enclosed a copy of
the court's dismissal order and record of court as supporting documentation. The inaccurate
reporting of this debt as "charged off" misrepresents the true status and negatively impacts my
credit history.

I kindly request that you reconsider my dispute and make the necessary updates to accurately
reflect the dismissal with prejudice on my credit report. I believe that the continued reporting of
an inaccurate status is misleading and does not align with the Fair Credit Reporting Act's
requirements.

I also request a description of how the reinvestigation was conducted along with the business
name, address, documentation, and telephone number of the furnisher of information.

Please provide written confirmation once the necessary corrections have been made to my credit
report. I trust that you will handle this matter promptly and in accordance with the applicable
regulations.

Thank you for your attention to this matter.

4 Page 7 of 16

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Original - Court file

4st copy - Assignment Clerk/Extra
2nd copy- Friend of the Court/Extra

Approved, SCAO

3rd copy - Opposing party
4th copy - Moving party

STATE OF MICHIGAN CASE NO.
JUDICIAL CIRCUIT
4sth JUDICIAL DISTRICT ORDER 22-00061GC
COUNTY
Court address Court telephone no.
13600 Oak Park Bivd, Oak Park, MI 48237 (248)69 1-7440
Plaintiff (es), and telephone no(s). dant (s), (es), and telephone no(s).

JP Morgan Chase Bank, N.A.

Plaintiff's atlomey, bar no., address, and telephone no.
Mandarich Law Group, LLP

James McArdle

P-82443

P.O. Box 109032, Chicago, IL 60610
(866)757-4738

Katrina I Bergunder
24674 Republic Ave.

Vv Oak Park, MI 48237

(773)853-7085

Defendant's bar no., add! and telephone no.

1. Motion title: Motion-to-exclude-witness-anddismiss— -Bism Ss wwitn gave fade CQ

2. Moving party: Katrina Bergunder, defendant

3. This motion was heard by the Honorable

Ws. For the reasons stated on the record,

THE COURT ORDERS that the above-named motion is

Hime co thc orders

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Judge Michelle Friedman Appel on 02/21/2023
Date
{¥] granted.
C granted in part, denied in part.
TC denied.

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Date

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Judge

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4 Page 8 of 16

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13600 Oak Park Blvd
Oak Park, MI 48237

Register of Action

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Register of Action

STATE OF MICHIGAN '
45TH JUDICIAL DISTRICT) REGISTER OF ACTIONS

CASE NO:

22-00061GC GC

Court Address 13600 OAK PARK BLVD

Court Telephone

OAK PARK MI 48237 (248) 691-7440
JUDGE OF RECORD: APPEL, MICHELLE FRIEDMAN, P-32709
|
| Attorney
| POl PLAINTIFF (CLSD) P-81102
t JP MORGAN CHASE BANK NA// MAMUT, MICHAEL THOMAS,
{ 28366 FRANKLIN RD
{ SOUTHFIELD MI 48034
(248) 352-4340
|
|
| DO1 DEFENDANT (CLSD)
i BERGUNDER/KATRINA/I
| 24674 REPUBLIC AVE
j OAK PARK MI 48237
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{ DATE ACTIONS, JUDGMENTS, CASE NOTES INITIALS
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(RETD ) $9,772.36
01/10/22
FILING FEE PAID $75.00 RCPT # D337821 ™S
CHECK TENDERED 302894 TMS
03/31/22
POL MOTION TO EXTEND TIME FOR SERV FILED NMC
Pol ORDER TO EXTEND TIME FOR SERV FILED NMC
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| MOTION FEE PAID $20.00 RCPT # D341877 ™s
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DEF AT COUNTER--WILL FILE WRITTEN RESPONSE W/ POT
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4 Page 9 of 16

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CLOSE OF DISCOVERY & AFTER DISP MTN CUT OFF PUT
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FEE WAIVER REQUEST FILED BY K. BERGUNDER PUT
i FEE WAIVER REQUEST GRANTED PJT
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j Pol ACTION TELEPHONE CALL RECEIVED NMC
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Page 10 of 16

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**PILE WITH JUDGR MFA**
FILE RETD BY JUDGE MFA

NOTICE TO DISMISS FILED

NTC OF DISMISSAL FILED BY PLTF IS NOT
SUFFICIENT AS THE DEFT FILED AN ANSWER - A
STIP & ORDER TO DISMISS MUST BE FILED TO
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T/C TO PLTF ATTY'S OFFICE - WAS TRANSFERRED
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COULD TAKE CARE OF THIS MATTER ~- SPOKE TO
TWO DIFFERENT RECEPTIONISTS THEREFORE I SENT
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DISMISSAL BY EMAIL

BENCH TRIAL HELD

ORDER TO DISMISS ENTERED

DISMISSAL WITH PREJUDICE ENTERED

PARTIES PRESENT (LIVE IN PERSON); DEF'S MTN
TO DISMISS GRANTED; CASE DISMISSED WITH
PREJUDICE

***** END OF REGISTER OF ACTIONS ***** 05/17/23 10:03

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Page 11 of 16

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Katrina Bergunder
24674 Republic Ave
Oak Park, MI 48237

June 5,2023

TransUnion Consumer Solutions
P.O. Box 2000
Chester, PA 19016.

Subject: Dispute Rejection - Request for Reconsideration

Dear TransUnion,

I am writing in response to your recent communication regarding the rejection of my dispute
regarding the status of JPMCB CARD on my credit report. I had previously disputed the entry,
requesting that it be updated to reflect the accurate status of "dismissed with prejudice" as
confirmed by the court.

I would like to reiterate that the debt in question has been legally dismissed with prejudice by the
45th District Court (13600 Oak Park Blvd, Oak Park, MI 48237), and I have enclosed a copy of
the court's dismissal order and record of court as supporting documentation. The inaccurate
reporting of this debt as "charged off" misrepresents the true status and negatively impacts my
credit history.

I kindly request that you reconsider my dispute and make the necessary updates to accurately
reflect the dismissal with prejudice on my credit report. I believe that the continued reporting of
an inaccurate status is misleading and does not align with the Fair Credit Reporting Act's
requirements.

I also request a description of how the reinvestigation was conducted along with the business
name, address, documentation, and telephone number of the furnisher of information. c

Please provide written confirmation once the necessary corrections have been made to my credit
report. I trust that you will handle this matter promptly and in accordance with the applicable

regulations.

Thank you for your attention to this matter.

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Page 12 of 16

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4st copy - Assignment ClerWExtra rd copy - Opposing party
Approved, SCAO 2nd copy- Friend of the Courl/Extra 4th copy ~ Moving party
STATE OF MICHIGAN CASE NO.
JUDICIAL CIRCUIT
45th JUDICIAL DISTRICT ORDER 22-00061GC
COUNTY
Court address Court telephone no.
13600 Oak Park Blvd, Oak Park, MI 48237 ¥ (248)691-7440
[Plaintiff name(s), (es), and telephone no(s). dant name(s), a (es), and teleph no(s).
JP Morgan Chase Bank, N.A. Katrina I Bergunder
24674 Republic Ave.
Vv Oak Park, MI 48237
(773)853-7085
Plaintiff's y. bar no., address, and telephone no. Defendant's attomey, bar no., address, and telephone no.
Mandarich Law Group, LLP
James McArdle
P-82443
P.O. Box 109032, Chicago, IL 60610
(866)757-4738

4. Motion title: Moti

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2. Moving party: Katrina Bergunder, defendant

3. This motion was heard by the Honorable Judge Michelle Friedman Appel on — 023
Ws For the reasons stated on the record, ,
THE COURT ORDERS that the above-named motion is (¥] granted.
(granted in part, denied in part.
Ci denied.

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Page 13 of 16

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45th District Court

13600 Oak Park Bivd
Oak Park, Ml 48237

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| STATE OF MICHIGAN 1

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CASE NO: 22-00061GC GC

j Court Address 13600 OAK PARK BLVD Court Telephone |
i OAK PARK MI 48237 (248) 691-7440 |
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i JUDGE OF RECORD: APPEL,MICHELLE FRIEDMAN, P-32709 |
! |
| Attorney j
| POl PLAINTIFF (CLSD) P-81102

' JP MORGAN CHASE BANK NA// MAMUT, MICHAEL THOMAS,

i 28366 FRANKLIN RD

SOUTHFIELD MI 48034

(248) 352-4340

| DOL DEFENDANT {CLSD) |
| BERGUNDER/KATRINA/I |
I 24674 REPUBLIC AVE |
| OAK PARK MI 48237
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DEF AT COUNTER--WILL FILE WRITTEN RESPONSE W/ PT |

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| 10/25/22 09:00a |
‘ PARTIES PRESENT VIA ZOM; DISCOVERY IS ORDERED pot |
j & TO BE COMPLETED BY 8/19/22, CASE EVAL I5 ror |
i NOT ORDERED; WITNESS LIST BY 7/22/22; DISP Por |
j MINS BY 9/2/225; FINAL PT SHALL BE SET AFTER pat |
i CLOSE OF DISCOVERY & AFTER DISP MTN CUT OFF por |
| ALL NOTICE TO APPEAR ISSUED por |
| 08/18/22 |
| p01 EXHIBITS FILED wc |
| 10/19/22 ‘
: PEE WAIVER REQUEST FILED BY K. BERGUNDER pat
i FEE WAIVER REQUEST GRANTED Par |
, 10/25/22 |
} ALL PRE-TKIAL FLNAL HELD Por |
{ALL PRE-TRIAL FINAL SCHEDULED par |
| 01/10/23 09:00 j
' PARTIES PRESENT VIA ZOOM; ADJ 60 DAYS par |
| ALL NOTICE TO APPEAR ISSUED pat |
! o1sa0s23
| ALL PRE-TRIAL FINAL HELD por |
| ALL BENCH TRIAL SCHEDULED Por |
' (LIVE ) 02/21/23 10:30A j
i PARTIES PRESENT VIA ZOOM; SET FOR **LIVE** IN Por!
| PERSON BENCH TRIAL ON 2/21/23 10:30AM~-DATE & por |
| TIME GIVEN ON THE RECORD POT j
| ALL NOTICE TO APPEAR ISSUED Por |
| 02/01/23 |
| Poa NOTICE WITNESS LIST FILED Par |
! 02/06/23 |
{por ACTION TELEPHONE CALL RECEIVED nuc |
ADV TO SUBMIT REQ TO JUDGE FOR ANY PARTY TO nc |
! APPEAR VIA 200M nuc |
| 02/07/23 |
| P01 CORRESPONDEN FILED por |
| (ze) i
| *PLAINTIFF'S REQUEST FOR WITNESS TO APPEAR VIA par |
| 200M Por |
| 02/08/23 |
| pol ACTION TELEPHONE CALL RECEIVED POT |
| T/C DEF REQ MTN TO DISMISS DATE--ADV NO par |
| AVAILABLE DATES PRIOR TO BT--GAVE BT DATE AND Por |
' TIME PaT |
po1 MOTION FILED Pot |
i (ee ) j
| **DEF MTN TO EXCLUDE WITNESS AND DISMISS Pat |
| po1 NOTICE rruep PUT |
i? MORGAN CHASE BANK N v BERGUNDER/KATRINA/I CASE#: 22-00061GC paGE: 3 |
| DATE ACTIONS, JUDGMENTS, CASE NOTES INITIALS '
| {
1 po. PROOF OF SERVICE FILED par |
| ALL MOTION SCHEDULED 02/21/23 10:30A Por |
| 02/09/23
PLTF REQ REVIEWED BY JUDGE MFA, PER JUDGE MFA, PUT |
‘ OK FOR WITNESS TERRICKA CLARK TO APPEAR FOR BT Por {
i VIA ZOOM Pot ij

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CBRSE22-AB2LBS]1 FOB EAS FEC EMG 34BE PassD 976 7 Fika Qe2/2k5 Page Bited 1

| 02/15/23

02/17/23
Pol

| 02/21/23

**PILE WITH JUDGR MFA**
FILE RETD BY JUDGE MFA

NOTICE TO DISMISS FILED

NTC OF DISMISSAL FILED BY PLTF IS NOT
SUFFICIENT AS THE DEFT FILED AN ANSWER - A
STIP & ORDER TO DISMISS MUST BE FILED TO
DISMLSS THIS CASE

T/C TO PLTF ATTY'S OFFICE - WAS TRANSFERRED
TWICE AND DID NOT GET ANYONE ON THE PHONE THAT
COULD TAKE CARE OF THIS MATTER - SPOKE TO
TWO DIFFERENT RECEPTIONISTS THEREFORE I SENT
AN EMAIL TO THE PERSON WHO SUBMITTED THE
DISMISSAL BY EMAIL

BENCH TRIAL HELD

ORDER TO DISMISS ENTERED

DISMISSAL WITH PREJUDICE ENTERED

PARTIES PRESENT (LIVE IN PERSON); DEF'S MIN
TO DISMISS GRANTED; CASE DISMISSED WITH
PREJUDICE

*e*** END OF REGISTER OF ACTIONS ***** 05/17/23 10:03

0/07/24

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